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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA, )
                    Plaintiff, )
                               )
v.                             )             CASE NO.: 11-CR-40047 – 10 - RDR
                               )
Lorena Monica Ortiz            )
                    Defendant. )
______________________________)

            ORDER GRANTING DEFENDANT’S MOTION TO CONTINUE
                       CHANGE OF PLEA HEARING

       NOW on this 10th day of January, 2012, the above matter comes before the Court upon
motion of defendant Lorena Ortiz seeking a continuance of the change of plea hearing in the
above-captioned matter. (Document No._306). All parties appear by their attorneys of record.
There are no other appearances.

        After reviewing the motion, being fully advised in the premises, and seeing no
objections, finds for the reasons stated in the motion, that there is good cause shown as to why
the change of plea hearing should be continued.

       IT IS THEREFORE BY THE COURT ORDERED that the change of plea hearing be
scheduled for January 27, 2012 at 11:00 a.m.

       IT IS SO ORDERED.

                                      s/Richard D. Rogers
                                      United States District Judge
